

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-71,921-06






STEPHEN BERNARD JONES, Relator


v.


 CRIMINAL DISTRICT COURT #3, Respondent







ON APPLICATION FOR WRIT OF MANDAMUS


CAUSE NOS. C-3-009432-1054498-C AND C-3-009434-1054601-C
			FROM TARRANT COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed two application for writs of
habeas corpus in the Criminal District Court No. 3 of Tarrant County, that more than 35 days have
elapsed, and that the applications have not yet been forwarded to this Court. Relator contends that
the district court entered an order designating issues on September 28, 2011.

	 Respondent, the Judge of the Criminal District Court No. 3 of Tarrant County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
applications.   In the alternative, the trial court may resolve the issues set out in its order and then
have the District Clerk submit the record on such applications.  In either case, the trial court's
response shall be submitted within 30 days of the date of this order.  This application for leave to file
a writ of mandamus will be held in abeyance until Respondent has submitted its response.


Filed:	May 2, 2012

Do not publish	


